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   8                           UNITED STATES DISTRICT COURT

   9                          CENTRAL DISTRICT OF CALIFORNIA

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  11   FELIX DELGADILLO,                       Case No. CV 21-1805-SVW(AS)

  12                     Petitioner,           ORDER ACCEPTING FINDINGS,
  13         v.                                CONCLUSIONS AND
  14                                           RECOMMENDATIONS OF UNITED
       GEORGE JAIME, Warden
  15                                           STATES MAGISTRATE JUDGE
  16                     Respondent.

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  18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the
  19   Petition and the First Amended Petition, all of the records herein
  20   and   the   attached    Report   and   Recommendation   of   United   States
  21   Magistrate Judge.       After having made a de novo determination of
  22   the portions of the Report and Recommendation to which Objections
  23   were directed, the Court concurs with and accepts the findings and
  24   conclusions of the Magistrate Judge.
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             IT IS ORDERED that Judgment be entered denying the Petition
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  27   and the First Amended Petition and dismissing this action with

  28   prejudice.
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   1        IT IS FURTHER ORDERED that the Clerk serve copies of this
   2   Order, the Magistrate Judge’s Report and Recommendation and the
   3
       Judgment    herein      on    counsel   for    Petitioner   and   counsel   for
   4
       Respondent.
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   6
            LET JUDGMENT BE ENTERED ACCORDINGLY
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   8   DATED:     October 27, 2021

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  10                                                 __________     _____________
                                                           STEPHEN V. WILSON
  11                                                  UNITED STATES DISTRICT JUDGE
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